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                          UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF FLORIDA - JACKSONVILLE DIVISION


IN RE:

 GEA SEASIDE INVESTMENT INC.                            CASE NO.: 3:18-BK-00800-JAF
 DBA GEA SEASIDE INVESTMENTS INC,                       CHAPTER 11
              Debtor(s).

 ______________________________________/

                     MOTION TO CONFIRM AMOUNTS DUE AND OWING

         Creditor, SELECT PORTFOLIO SERVICING, INC (“SPS”), as Servicer on behalf of the

below creditors, by and through undersigned counsel and pursuant to the applicable rules, hereby

moves this Court to confirm the amounts due and owing on the below stated loans and in support

thereof states:

         1.        This Chapter 11 proceeding stems from the Debtor acquiring property from Jack

Aberman, who personally obtained loans for several properties.

         2.        The Debtor is not an obligor of the underlying debts stated below and is making

payments to SPS based upon the confirmation of its Plan [D.E. 1282].

         3.        SPS services loans for the creditors contained in Class 13, 14, 15, 16 and 17. During

this proceeding the Debtor was required to maintain the taxes and insurance for the properties as

the Plan itself provided that Debtor would maintain taxes and insurance directly.

         4.        However, due to the Debtor’s failure to maintain the property taxes and insurance,

the monthly payments of the accounts below have changed, and the Debtor’s accounts contain

negative escrows balance which must be paid.
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     5.       The Debtor’s plan provided as follows:

Claim             Creditor                Property         Plan Treatment       Monthly
                                          Address                               Payments
13        Deutsche Bank               318 Butler Blvd.,   $265,867.14       $738.52       per
          c/o Select Portfolio Svg    Daytona Beach,      (1111(b)          month principal
          Attn:            Remittance FL 32118            Election)         only for months
          Processing                  (POC #59)                             1-360; Debtor to
          PO Box 65450                                                      maintain taxes
          Salt Lake City, UT 84165-                                         and     insurance
          0450                                                              directly
          (Acct #5495)
14        Wilmington Trust            231        North    $81,573.57        $389.44      per
          c/o Select Portfolio Svg    Hollywood,          (1111(b)          month principal
          Attn:            Remittance Daytona Beach,      Election)         and interest for
          Processing                  FL 32118                              months 1-360;
          PO Box 65450                (POC #61)                             Debtor        to
          Salt Lake City, UT 84165-                                         maintain taxes
          0450                                                              and
          (Acct #9594)
15        Deutsche Bank               2711 N Halifax      $112,150.51       $400.65       per
          c/o Select Portfolio Svg    Ave        #796,    (1111(b)          month principal
          Attn:            Remittance Daytona Beach,      Election)         and interest for
          Processing                  FL 32118                              months 1-360;
          PO Box 65450                (POC #62)                             Debtor         to
          Salt Lake City, UT 84165-                                         maintain taxes
          0450                                                              and     insurance
          (Acct #5487)                                                      directly

16        Wilmington Trust              312 N Peninsula $81,095.96          $387.16        per
          c/o Select Portfolio Svg      Drive, Daytona (1111(b)             month principal
          Attn: Remittance Salt Lake    Beach           election)           and interest for
          City, UT 84165-0450
          (Acct #9651)
17        US Bank NA                    316 Butler Blvd, $177,069.57        $491.86       per
          c/o Select Portfolio Svg      Daytona Beach, (1111(b)             month principal
          Attn:            Remittance   FL 32118         Election)          only for months
          Processing                    (POC #65)                           1-360; Debtor to
          PO Box 65450                                                      maintain taxes
          Salt Lake City, UT 84165-                                         and     insurance
          0450                                                              directly
          (Acct #7556)
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       6.      The Debtor has not maintained the taxes and insurance as required, and therefore is

delinquent on accounts, and the monthly payments have changed as follows:

            a. Class 13 (Acct # 5495): The loan is due for June 1, 2021, and the loan is currently

               being escrowed for taxes only for $121.91 and the payment amount is $860.43,

               which principal and interest account for $738.52 and the remainder is taxes, and the

               amount to cure the loan to bring it current is $2,584.01, which does not include

               October payment. The amount to reinstate $2,584.01.

            b. Class 14 (Acct # 9594): The loan is due for February 1, 2021, and the loan was

               fully escrowed resulting in the monthly payment is $958.56, which principal and

               interest account for $389.44, taxes are $112.68, insurance is $145.76, and $310.68

               in escrow shortage. The Debtor did provide proof of insurance which reduced the

               monthly payments to $809.01. However, there is still wind insurance coverage

               being escrowed. There is a current negative escrow balance of $8,744.99. The

               amount to reinstate is $6,122.89.

            c. Class 15 (Acct #5487): The loan is due for May 1, 2021 and is currently not

               escrowed. The loan was escrowed and monthly payments were $656.87 consisting

               of principal and interest payments of $400.65 plus escrow, with a negative escrow

               balance of $3,493.35. The amount to reinstatement is $1,681.75.

            d. Class 16 (Acct # 9651): The loan is due for March 1, 2021 and was fully escrowed.

               The payments were $921.14, of which $387.16 are principal and interest and the

               remainder for escrows. The Debtor provided proof of insurance which reduced the

               monthly payment to $647.93 as of May 1, 2021, which would be the Debtor’s

               ongoing payments if made current.        There is a negative escrow balance of
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               $4,099.35. The amount to reinstatement $4,907.89.

       7.      SPS, through counsel, provided the Debtor with an accounting of the back due

escrows to be paid, but to date the escrows have not been paid. The Debtor disputes the total

amount of escrows that are due under the loan.

       8.      Although SPS has relief from the automatic stay and can enforce it rights, it requests

this Court to confirm the amounts due and owing, and order that the Debtor must pay all past due

escrows due.

        WHEREFORE, SPS, respectfully requests this Court confirming the amounts due and

owing for the subject loans to allow SPS to enforce its rights against each property, and for any

such further relief this Court deems proper and just.

                                              By: _/s/ Adam A. Diaz__
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this day, October 1, 2021, a copy of the foregoing was

furnished electronically and/or via first class U.S. Mail upon:

GEA SEASIDE INVESTMENT INC.
DBA GEA SEASIDE INVESTMENTS INC
428 NORTH PENINSULA DRIVE
DAYTONA BEACH, FL 32118
Debtor(s)

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Attorney for U.S. Trustee

UNITED STATES TRUSTEE- JAX 11, 11
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ORLANDO, FL 32801
U.S. Trustee


                                              By: _/s/ Adam A. Diaz__
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